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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

  FREDERICK SAUNDERS,

        Plaintiff,

  v.                                                  Case No. 6:23-cv-230-RBD-LHP

  SIGNATURE FLIGHT SUPPORT,
  LLC,

        Defendant.
  ____________________________________

                                        ORDER

        Throughout this employment discrimination case, Plaintiff Frederick

  Saunders and his attorney Michael Mann, Esq. have engaged in a pattern of

  noncompliance with Court Orders and bad faith conduct. Because of this

  misconduct, Defendant Signature Flight Support, LLC (“Signature”) moved for

  sanctions three times: first for Saunders’ alleged violation of the Florida Mediation

  Confidentiality and Privilege Act (“Mediation Act”) (Doc. 55), next for Saunders’

  and Mann’s noncompliance with the Court’s Order to produce text messages

  (Doc. 57), and finally for Saunders’ failure to appear at mediation. (Doc. 61.) On

  referral, and after two hearings, U.S. Magistrate Judge Leslie Hoffman Price

  entered a Report and Recommendation submitting that: (1) the Court should deny

  Signature’s first motion because the Mediation Act does not apply, but (2) the
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  Court should grant Signature’s remaining motions and dismiss the case because

  Saunders’ and Mann’s bad faith warrants this severe sanction. (Doc. 95 (“R&R”).)

  Saunders and Mann objected to the R&R on the grounds that their behavior is

  attributable to Mann’s scheduling and technological difficulties and Saunders’

  misunderstandings, not bad faith. (Doc. 101 (“Objection”).) Signature responded

  in support of the R&R. (Doc. 103.)

         After an independent de novo review of the record, the motions, and the

  Objection,    the    Court    agrees     with    Judge      Hoffman     Price’s    R&R.     See

  28 U.S.C. § 636(b)(1); Ernest S. ex rel. Jeffrey S. v. State Bd. of Educ., 896 F.2d 507, 513

  (11th Cir. 1990).

         Saunders’ and Mann’s Objection largely restates justifications for their

  behavior as explained to Judge Hoffman Price in prior filings and hearings, each

  of which she addressed and rejected in her thorough and well-reasoned R&R. 1

  (Doc. 101; see Doc. 95.) The Court need not address Saunders’ and Mann’s other

  meritless assertions 2—especially their inappropriate ad hominem attacks on the

  Magistrate Judge based on her normal, professional comments at a hearing—

  which provide no basis for sustaining their Objection. (See Doc. 101, p. 5.) The


         1   In addition to their other misdeeds, the Objection also attaches as an exhibit
  correspondence that improperly includes references to confidential settlement discussions. See
  M.D. Fla. Discovery Handbook (2021), p. 7.
          2 The Court need not consider arguments not properly raised before the Magistrate Judge.

  See Williams v. McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009).

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  Court agrees entirely with Judge Hoffman Price that Saunders’ and Mann’s failure

  to course-correct after the imposition of monetary sanctions suggests that

  dismissal is the only way to deter further misconduct. (Doc. 95, p. 49.) So the

  Objection is due to be overruled.

        Accordingly, it is ORDERED AND ADJUDGED:

        1.    Plaintiff’s Objection (Doc. 101) is OVERRULED.

        2.    Exhibit 1 to the Objection (Doc. 101-1) is STRICKEN, and the Clerk is

              DIRECTED to remove it from the docket. See supra note 1.

        3.    The R&R (Doc. 95) is ADOPTED AND CONFIRMED and made a

              part of this Order in its entirety.

        4.    Defendant’s motion for sanctions under the Mediation Act (Doc. 55)

              is DENIED.

        5.    Defendant’s motion for sanctions due to Plaintiff’s noncompliance

              with the Court’s discovery order (Doc. 57) is GRANTED.

        6.    Defendant’s motion for sanctions due to Plaintiff’s failure to attend

              mediation (Doc. 61) is GRANTED.

        7.    This case is DISMISSED WITH PREJUDICE. The Clerk is

              DIRECTED to close the file.

        8.    Defendant is AWARDED attorney’s fees and costs as enumerated in

              the R&R, to be paid jointly and severally by Saunders and Mann.


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              (Doc. 95, p. 56.) If the parties cannot agree on an amount, Defendant

              may file a motion to determine the amount by the deadline set forth

              in Local Rule 7.01(c).

        9.    Attorney Mann is REFERRED to the Grievance Committee of the

              Middle District of Florida for an evaluation as to whether his conduct

              warrants further sanctions.

        DONE AND ORDERED in Chambers in Orlando, Florida, on September

  12, 2024.




  Copies:
  Nichole M. Mooney, Chair of the Grievance Committee for the Middle District of
  Florida, Orlando Division




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